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+ @ &
§ Majeid Crawford is with Amati _
’ Adkins and 5 others.
January 30, 2018 - @

Thank you President of the Board of
Supervisors London Breed for your expansive
search for a buyer of the Fillmore Heritage
Center, endorsing the venue serving residents
of the community and fulfilling the community
benefits plan created by the New Community
Leadership Foundation in 2015.

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LF es Nailah Blackman
| Got This Record : By ++.
J-wonn (Official...
J-Wonn - Official Music

Purple Rain (Live at
Carrier Dome....
Prince @

While My Guitar
Gently Weeps - By...
Paul McCartney @

La Venia Bendita - By
Marco Antonio Soll...
Marco Antonio Solis @

The Home Depot / An ---
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Mark Lowry ©

Promise - By Tori
Amos (Official Musi...
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Romance Killer (s)cs
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